   Case 1:21-md-03010-PKC Document 848 Filed 06/26/24 Page 1 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x

IN RE: GOOGLE DIGITAL ADVERTISING                                  21-md-3010 (PKC)
ANTITRUST LITIGATION

                                                                       ORDER

                                                               THIS ORDER APPLIES TO:

                                                               Google LLC v. Havas Media
                                                               Group USA, LLC, 24 Civ.
                                                               3063 (PKC)
-----------------------------------------------------------x
CASTEL, Senior District Judge:

                 Google commenced this proceeding in the Central District of Illinois on

September 7, 2023, seeking to enforce compliance with two subpoenas. (ECF 1.)

                 One subpoena was issued by the Clerk of Court for this District under the

caption State of Texas, et al. v. Google LLC, 21 Civ. 6841 (PKC) (the “Texas Action”),

which was then proceeding before the undersigned but was remanded to the Eastern

District of Texas on November 1, 2023. See 21 Civ. 6841 (11/1/23 docket notation).

Although the subpoena was issued under the caption of the Texas Action, Google’s motion

to compel references the “MDL actions,” and the Subpoena defines “Action” to refer to “all

lawsuits consolidated” within the MDL docket number. (ECF 1, 1-5 at Def. ¶ 3.) The

second subpoena was issued by the Clerk of Court for the Eastern District of Virginia in

connection with United States, et al., v. Google LLC, 1:23 Civ. 108 (E.D. Va.) (LMB) (the

“Virginia Action”).

                 Both subpoenas were issued to Havas Media Group USA, LLC (“Havas”),

which is a non-party to the underlying actions, and is described by Google as an

“advertising agency” and “industry participant.” (24 Civ. 3063, ECF 1.) The subpoenas
   Case 1:21-md-03010-PKC Document 848 Filed 06/26/24 Page 2 of 3



were served on May 22, 2023, with a compliance deadline of June 1, 2023. Both

subpoenas identified the place of compliance as a business called Meador Investigations in

Lincoln, Illinois. (Id.)

                In a written Order of April 10, 2024, the Hon. Colin S. Bruce of the Central

District of Illinois granted Havas’s motion to transfer the proceeding to this District

pursuant to Rule 45(f), Fed. R. Civ. P. (ECF 16.) The Order concluded that the subpoenas

improperly designated Lincoln, Illinois as the place of compliance, when it should have

been designated as New York, NY, where Havas maintains its headquarters. (Id. at 4-7.)

The Order also made note of the MDL proceedings in this District. (Id. at 1-2.)

                Following transfer, the Havas proceeding was randomly assigned to the

Hon. Analisa Torres on April 22, 2024, and then, on April 23, randomly reassigned to the

Hon. Vernon S. Broderick. On June 20, 2024, the undersigned accepted reassignment of

the case as related to In re: Google Digital Advertising Antitrust Litigation, 21-md-3010

(PKC).

                After transfer to this District, Google did not alert Judge Broderick that the

Havas proceeding was potentially related to the MDL. Fact discovery will close in the

MDL on June 28, 2024. (See 21-md-3010, ECF 394.) Moreover, document discovery

apparently closed in the Virginia Action on October 6, 2023. (1:23 Civ. 108 (E.D. Va.)

ECF 440.) The Court in the Virginia Action has set a schedule for pretrial submissions.

(Id. ECF 871.) There is no indication on the docket that Google alerted Judge Broderick to

the close of discovery in the Virginia Action, the looming close of discovery in the MDL,

or made any other application to expedite enforcement of its subpoenas. The only filing by

either party since the April transfer of this case is the June 25, 2024 motion of Michael W.

Drumke to withdraw as counsel to Google. (ECF 18.)



                                               2
  Case 1:21-md-03010-PKC Document 848 Filed 06/26/24 Page 3 of 3



               No later than June 28, 2024, Google shall show cause in writing why

Google LLC v. Havas Media Group USA, LLC, 24 Civ. 3063 (PKC), ought not be

dismissed for failure to prosecute. In the event that Google believes this proceeding should

go forward, it shall show cause in writing why the subpoena issued in the Virginia Action

ought not be quashed as moot, and, separately, show cause in writing explaining its failure

to alert Judge Broderick of the proceeding’s relatedness to the MDL or to otherwise

expedite the resolution of its motion in light of the imminent close of fact discovery in the

MDL. Google’s response should also propose what steps remain to bring the Havas

proceeding to a close in light of the close of fact discovery in the Virginia Action and the

June 28 close of fact discovery in the MDL.

               SO ORDERED.




Dated: New York, New York
       June 26, 2024




                                              3
